                     Case 3:16-cr-00220-AWT Document 241 Filed 03/12/18 Page 1 of 2
                                                                                                                                     Criminal Std (//201)
                                                                                H ON ORABLE:          Alvin W. Thompson
                                                    DEPUTY CLERK            L. S. Ferguson         RPTR/ECRO/TAPE              C. Thompson
                                                    USPO                                           INTERPRETER
TOTAL TIM E: 5            hours 29       minutes
                                                    D ATE: Mar 12, 2018 START TIME: 9:15 am END TIME: 3:37 pm
                                                         COURTROOM MINUTES 12:23 pm to 1:16 pm Recess`
  IA-INITIAL APPEAR                       BOND HRG                            CHANGE OF PLEA                       IN CAM ERA HRG
  IA- RULE 5                              DETENTION HRG                        WAIVER/PLEA HRG                     COM PETENCY HRG
  ARRAIGNMENT                             PROBABLE CAUSE                       EXTRADITION HRG                     FORFEITURE
  CONFLICT HRG                            EVIDENTIARY HRG                    STATUS CONF027,21+5*



     CRIM INAL NO. 3:16-cr-00220-AWT                              1
                                                         DEFT # ______                     Heather L. Cherry, Jonathan N. Francis
                                                                                           AUSA
                UNITED STATES OF AMERICA                                                                                                             Carboni
                          vs                                                             Leontire, Baez, Sharkey, Sullivan, Chambers,
                        DAVID DEMOS                                                      Counsel for Defendant Ret           CJA           PDA



  . . . . . . . Deft failed to appear. Oral M otion for issuance of Warrant      granted      denied         Bond FORFEITED
  ......      Arrest Date (CT Case):                              Case unsealed or      Rule 5 arrest,             Dist of
  . . . . . . CJA 23 Financial Affidavit filed       under seal
  . . . . . . Order Appointing Federal Public Defender’s Office filed
  . . . . . . Court appoints Attorney                                    to represent defendant for       this proceeding only          all proceedings
  . . . . . . Appearance of                                                          filed
  ......       Complaint filed          Sealed Complaint filed        Affidavit of                                           filed
  ......       Information/M isdemeanor filed            Sealed Information filed
  ......       Waiver of Indictment (case opening) filed              Felony Information filed
  ......       Waiver of Indictment (mid case) filed              Superseding Information filed
  . . . . . . Plea Agreement Ltr filed      under seal      to be e-filed
    . . . . . . Plea of    not guilty   guilty      nolo contendere to count(s)                     of the
  . . . . . . Petition to Enter Guilty Plea filed                                                            (indict, superseding indict, info)
  . . . . . . Defendant motions due                                   ; Government responses due
  . . . . . . Scheduling Order       filed    to be filed   Sentencing Scheduling Order
  . . . . . . . Hearing on Pending M otions scheduled for                       at
  . . . . . . Jury Selection set for                                 at
  . . . . . . Remaining Count(s) to be dismissed at sentencing
  . . . . . . Sentencing set for                            at                          Probation 246B Order for PSI & Report
  . . . . . . Special Assessment of $___________ on count(s)___________. Total $ _________         Due immediately    Pay at sentencing
  . . . . . . Govt’s M otion for Pretrial Detention filed       GRANTED             DENIED       ADVISEMENT
  . . . . . . Govt’s ORAL M otion for Pretrial Detention     GRANTED          DENIED               ADVISEMENT
  . . . . . . Order of Detention filed
  . . . . . . Deft ordered removed/committed to originating /another District of
  . . . . . . No bond set at this time, Order of Temporary Detention Pending Hearing              filed       to be filed
  . . . . . . Waiver of Rule 5 Hearing filed
  . . . . . . Govt’s M otion for waiver of 10-day notice          GRANTED      G DENIED G ADVISEMENT
  . . . . . . Bond   set at $                            reduced to $                         Non-surety        Surety      Personal Recognizance
  . . . . . . Bond    revoked       reinstated      continued       modified
  . . . . . . Defendant detained
  ......                  Hearing         waived      set for                                     continued until
  . . . . . . Set Attorney Flag and notify Federal Grievance Clerk
                                                                  SEE page II for      conditions of bond         additional proceedings
                     Case 3:16-cr-00220-AWT Document 241 Filed 03/12/18 Page 2 of 2

                                                       CONDITIONS OF BOND



. . . . . Travel restricted to Connecticut of extended to
          upon obtaining permission from USPO. A motion for any other travel with copies to the Govt and to USPO must be filed
          and approved by the Court.

 . . . . . Deft must reside at


. . . . . . Deft must report to USPO               times a   G week Gmonth G by telephone G in person G at USPO             discretion.

. . . . . . Deft    must surrender passport by 4: 00 p. m. on                   ;       M ust not apply for a passport.

. . . . . . . Deft must refrain from the possession of firearms or dangerous weapons.

. . . . . . Deft must maintain employment or actively seek employment.

. . . . . . Deft must refrain from use or unlawful possession, or distribution of a narcotic drug.

. . . . . . as set forth in the Order Setting Conditions of Release

.......




                                                  ADDITIONAL PROCEEDINGS



. . . . . . Deft’s oral motion                                                                         granted    denied     advisement
...... Deft’s oral motion                                                                              granted    denied      advisement
. . . . . . . Deft’s oral motion                                                                       granted    denied      advisement
. . . . . . . Deft’s oral motion                                                                       granted     denied      advisement
. . . . . . Govt’s oral motion                                                                         granted     denied     advisement
. . . . . . Govt’s oral motion                                                                         granted    denied      advisement
. . . . . . Govt’s oral motion                                                                         granted    denied      advisement
. . . . . . Govt’s oral motion                                                                         granted     denied     advisement
...... #           Deft                      M otion                                                   granted     denied     advisement
...... #           Deft                      M otion                                                   granted     denied     advisement
...... #           Govt M otion                                                                        granted     denied     advisement
...... #          Govt M otion                                                                         granted     denied     advisement
. . . . . . Oral Argument re: Motions (Doc. Nos. 151, 143, 155, 147, 140, 137,                filed    granted    denied      advisement
 . . . . . . 138, 139, 141, 153, 157, 145, 135, 149, 132, 134, 136, 225, 236,                 filed    granted     denied     advisement
. . . . . . 239).                                                                             filed    granted    denied     advisement
. . . . . . Court will enter Orders on the Deft's and Govt's motions.                         filed    granted    denied     advisement
......                                                                                         filed    granted    denied    advisement
